 Case 8:19-cr-00061-JVS Document 101 Filed 02/23/20 Page 1 of 5 Page ID #:2018



 1   H. Dean Steward SBN 85317
 2   107 Avenida Miramar, Ste. C
     San Clemente, CA 92672
 3   949-481-4900
 4   Fax: (949) 496-6753

 5   Attorney for Defendant
     MICHAEL J. AVENATTI
 6
 7
 8                                  UNITED STATES DISTRICT COURT
 9
                                   CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES,                                    Case No. SA-CR-19-61-JVS
12
                      Plaintiff,                       RESPONSE AND OPPOSITION TO
13                                                     GOVERNMENT’S EX PARTE
       vs.                                             APPLICATION TO TRANSFER
14
   MICHAEL J. AVENATTI                                 DEFENDANT
15     Defendant.
16
17
18          Comes now counsel and submits the below response and opposition to the
19
     government’s application for an order transferring defendant from New York City to
20
21
     this district.

22   Dated: 2-23-20                    /s./ H. Dean Steward
23
                                            H. Dean Steward
                                            Counsel for Defendant
24                                          H. Dean Steward
25
26
27
28

                                                    -1-
 Case 8:19-cr-00061-JVS Document 101 Filed 02/23/20 Page 2 of 5 Page ID #:2019



 1   I. The Defense Opposes and Movement of the Defendant and Opposes the
 2
     Government’s Ex Parte Application.
 3
 4
 5          Defendant Michael Avenatti, together with counsel, opposes any order to the
 6
     U.S. Marshals to transport Mr. Avenatti from New York City to the Central District of
 7
 8   California at this time.

 9          Mr. Avenatti is set to go to trial on April 21, 2020, before Judge Jesse Furman in
10
     the Southern District of New York, United States v. Avenatti, CR-19-374-JMF
11
12   (commonly known as the “Stormy Daniels” case, after the complaining witness). The
13   trial date in that case precedes the trial date in this case.
14
            There is a status conference before Judge Furman in the Stormy Daniels case set
15
16   for this coming Tuesday, February 25, 2020.
17          Mr. Avenatti has New York counsel, Mariel Colon Miro, whom he needs to
18
     meet with regularly at the Metropolitan Correctional Center in the Southern District of
19
20   New York to prepare for the Stormy Daniels trial. Similarly, Tom Warren and Daniel
21   Dubin of Pierce Bainbridge Beck Price & Hecht LLP, who also represent Mr.
22
     Avenatti, have an office in New York and can meet with him at MCC New York. But
23
24   Ms. Miro would not have the ability to travel to Los Angeles should Mr. Avenatti be
25   transferred to the Central District of California at this time, impeding Mr. Avenatti’s
26
     ability to prepare for trial.
27
28

                                                  -2-
 Case 8:19-cr-00061-JVS Document 101 Filed 02/23/20 Page 3 of 5 Page ID #:2020



 1         Until just a few days ago, Mr. Avenatti had been placed in solitary confinement
 2
     in the SHU unit at MCC, under extraordinarily restrictive conditions involving
 3
 4   essentially no contact with the outside world, for more than a month. Last Thursday,

 5   the Warden graciously agreed to transfer Mr. Avenatti to the cadre unit, where he has
 6
     access to a phone at posted times of the day, can use e-mail through the government’s
 7
 8   Corr-links system, and can send and receive mail far more easily. He will also be able

 9   to review discovery, which he could not do for the most part, over the last 30 days.
10
           Now that Mr. Avenatti has been newly situated by the BOP, and now that his
11
12   conditions of confinement have substantially improved so he is in a position to more
13   effectively prepare for trial, transferring him at this point would undo all of the work
14
     that went into finding appropriate conditions of confinement for Mr. Avenatti.
15
16         Forcing Mr. Avenatti to be transferred back and forth to California in the weeks
17   prior to trial in New York will profoundly interfere with his ability to prepare for trial
18
     in the Stormy Daniels case. Such a transfer could take 1-2 weeks in each direction in
19
20   the normal course of prisoner movement. And Mr. Avenatti already lost weeks of trial
21   preparation because of his placement in solitary confinement.
22
           The next hearing in this case is a status conference on March 2, 2020. As he has
23
24   done before, Mr. Avenatti waives his appearance at that status conference, and a
25   written waiver is on file. No testimony is anticipated at that hearing, and the main topic
26
     will likely be discovery, what remains from the government, counsel’s progress, and
27
28

                                                 -3-
 Case 8:19-cr-00061-JVS Document 101 Filed 02/23/20 Page 4 of 5 Page ID #:2021



 1   whatever else the Court wishes to address. Now that Mr. Avenatti has been moved to
 2
     the general population at MCC New York, it is likely that Mr. Avenatti’s participation
 3
 4   by phone can be arranged should it be preferred.

 5   II. Conclusion
 6
           For the reasons above, the defense opposes any movement of the defendant at
 7
 8   this time, and opposes the government’s ex parte application.

 9
10
     Dated: 2-23-20               /s./ H. Dean Steward
11
12                                   H. Dean Steward
13                                   Counsel for Defendant
14
                                     Michael J. Avenatti
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              -4-
 Case 8:19-cr-00061-JVS Document 101 Filed 02/23/20 Page 5 of 5 Page ID #:2022



 1
 2
     CERTIFICATE OF SERVICE
 3
 4
 5   I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of age.
 6
     My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672.
 7
 8         I am not a party to the above entitled action. I have caused, on 2-23-20, service

 9   of the defendant’s:
10
     Response & Opposition to Moving the Defendant
11
12   On the following party, using the court’s ECF system:
13
14
     AUSA’S Brett Sagel & Julian Andre
15
16
17   I declare under penalty of perjury that the foregoing is true and correct.
18
     Executed on 2-23-20
19
20   s/ H. Dean Steward
21   H. Dean Steward
22
23
24
25
26
27
28

                                                -5-
